                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                 FT. WORTH DIVISION


 ROBERT (BOB) ROSS                               §
 Plaintiff/Counterclaim-Defendant,               §
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                                                 §
                                                 §        Case No. 4:22-CV-00343-Y
                                                 §
 V.                                              §
                                                 §
 ASSOCIATION OF PROFESSIONAL                     §
 FLIGHT ATTENDANTS,                              §
 MCGAUGHEY, REBER AND                            §
 ASSOCIATES, INC., JULIE                         §
 HEDRICK, ERIK HARRIS                            §
 Defendants.                                     §


   PLAINTIFF/COUNTERCLAIM_DEFENDANT’S MOTION TO EXTEND TIME
  TO FILE RESPONSE TO DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT

        Plaintiff/Counterclaim-Defendant Robert “Bob” Ross hereby moves for a twenty-one day

extension on time in which to file a response to Defendants’ motion for summary judgment in the

subject case. This is the plaintiff/counterclaim-defendant’s first for extension of time on this

matter. Should this motion to extend time to respond be granted, the due date for filing a response

will be set at November 1, 2022.

        Substantial progress has been made by the plaintiff/counterclaim-defendant on preparation

of its summary judgment response materials. At this writing, a draft had been nearly completed

based on counsels’ notes of preliminary research and interviews given the early nature of the

developments of this suit and the fact that discovery has not commenced.


Plaintiff/Counterclaim-Defendant’s Motion for to Extend Time to File Response
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        During drafting, Plaintiff/Counterclaim-Defendant’s counsel, Heather Abreu’s son fell ill

to a severe asthma attack causing her son to be rushed to the emergency room for acute care.

Counsel has been tending to her child. As a result, more time is necessary finish the response.

        While plaintiff/counterclaim-defendant intends to expeditiously work toward completion

of a response to defendants’ summary judgment motion and supporting materials, the undersigned

is committed to drafting a response in the related matter also pending with this court and due at

the same date. Accordingly, a full twenty-one-day extension will be needed.

        For the forgoing reasons, it is respectfully requested that this motion for an extension of

time of twenty-one days for plaintiff/counterclaim-defendant to file a response to a motion for

summary judgment, up to and including November 1, 2022, be granted.

                                                      Respectfully submitted,
                                                      KD PHILLIPS LAW FIRM, PLLC


                                                      By: /s/ Kerri Phillips______________

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                                                            ATTORNEYS FOR
                                                            PLAINTIFF/COUNTERCLAIM-
                                                            DEFENDANT
Plaintiff/Counterclaim-Defendant’s Motion for to Extend Time to File Response
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                                      Certificate of Conference
I emailed Sanford Denison, William Osbourne and Michael Rake, attorneys for defendants on
October 5, 2022 to discuss the filing of this motion. None of the attorneys responded to the
email regarding the filing of this motion.


                                                        /s/ Kerri Phillips______________
                                                         Kerri Phillips, Esq.




                                        Certificate of Service
I certify that on this 5th day of October 2022, a true and correct copy of the foregoing document
was sent to all counsels of record, hereunder listed via ECF Filing as permitted by Rule 5(b)(2)
of the Federal Rules of Civil Procedure.
  William Osborne
  Sanford Denison
  Michael Rake


                                                      /s/ Kerri Phillips______________
                                                      Kerri Phillips, Esq.




Plaintiff/Counterclaim-Defendant’s Motion for to Extend Time to File Response
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 MCGAUGHEY, REBER, AND                      §
 ASSOCIATES, INC., JULIE                    §
 HEDRICK, ERIK HARRIS                       §
 Defendants/Counterclaim-Plaintiffs.        §


         ORDER GRANTING EXTENSION OF TIME TO FILE RESPONSE TO
             DEFENDANT’S MOTION FOR SUMMARY JUDGMENT

       This Matter, having come before the Court on Plaintiff/Counterclaim-Defendant, Robert

(Bob) Ross’s Motion to Extend Time to File Response to Defendants’ Motion for Summary

Judgment should be granted for good cause shown, it is hereby:

       ORDERED, ADJUDGED, AND DECREED that the Plaintiff/Counter-Defendant’s

Motion for Extension of Time to File Response to Defendants’ Motion for Summary Judgment is

GRANTED thereby extending the deadline to respond by twenty-one days to November 1, 2022.

       ENTERED THIS ____ day of _________________, 2022.



                                           ______________________________________
                                           JUDGE PRESIDING




                                           Solo Page
